    8:18-mj-00053-MDN          Doc # 10       Filed: 02/02/18     Page 1 of 1 - Page ID # 34




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:18MJ53

       vs.
                                                                        ORDER
JOSE ARNOLDO RAMIREZ, JR.,

                       Defendant.


       This matter comes before the Court on the request of the Federal Public Defender for the
Court to authorize Thomas J. Gross, as a Criminal Justice Act Training Panel Member, to assist
in the defense of Jose Arnoldo Ramirez, Jr.
       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal
Justice Act Plan for the District of Nebraska, Thomas J. Gross is hereby assigned to assist CJA
Panel Member (CJA) Peder C. Bartling in the representation of the Defendant in the above-
captioned case, and must file an entry of appearance forthwith. Thomas J. Gross shall not be
eligible to receive compensation for his services in this case.
       CJA Peder C. Bartling shall continue to be primary counsel on behalf of the Defendant,
Jose Arnoldo Ramirez, Jr.


       Dated this 2nd day of February, 2018.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
